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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   FLORENCE DIVISION

 CHALPIN REALTY SC, LLC,                           ) Civil Action No: 4:22-cv-02651-JD
                                                   )
                      Plaintiff,                   )
                                                   )       PLAINTIFF’S MOTION FOR
                vs.                                )   EXTENSIONS OF TIME TO FILE
                                                   )   REPLY PAPERS ON PLAINTIFF’S
 JERSAM REALTY, INC.,                              )        PENDING MOTIONS AND
                                                   )    RESPONSE TO DEFENDANT’S
                  Defendant.                       )           PENDING MOTION
                                                   )




       Pursuant to Local Civil Rule 6.01, Plaintiff Chalpin Realty SC, LLC (“Plaintiff”) hereby

respectfully requests that the Court extend due dates on the following pending motions—

Plaintiff’s Motion to Amend the Judgment (DE 36) (“Plaintiff’s Motion to Amend”), Plaintiff’s

Petition for Attorney’s Fees (DE 35) (“Plaintiff’s Petition for Attorney’s Fees”), and Defendant’s

Motion to Amend the Judgment pursuant to FRCP § 52(a) & 59(e) (DE 40) (“Defendant’s

Motion to Amend the Judgment”) (collectively, the “Motions”), as follows:

   1. Plaintiff’s time to file its reply papers in connection with each of:

            a. Plaintiff’s Motion to Amend (DE 36) from its current due date of November 27,

               2023 to December 11, 2023; and

            b. Plaintiff’s Petition for Attorney’s Fees (DE 35) from its current due date of

               November 27, 2023 to December 11, 2023.

    2. Plaintiff’s time to file its response papers in connection with:

            a. Defendant’s Motion to Amend the Judgment (DE 40) from its current due date

               of December 4, 2023 to December 11, 2023.
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       By way of background, the parties previously consented to and jointly requested a

number of extensions in connection with each of the above Motions, which the Court had granted

in each instance.1

       Since then, Plaintiff has realized the need for additional time due to current obligations,

that there are now three separate pending post-judgment Motions being briefed in the above

captioned action, and in particular given the upcoming Thanksgiving holiday weekend.

       With respect to Plaintiff’s current request for an extension of time in connection with the

Motions, counsel for Defendant has consented to an extension through December 4, 2023 for

Plaintiff to submit reply papers on Plaintiff’s Motion to Amend & Plaintiff’s Petition for

Attorney’s Fees.

       Plaintiff’s counsel has requested consent from Defendant’s counsel for an extension of

time through December 11, 2023 for Plaintiff to submit response and reply papers on the Motions

as outlined above but has not yet heard back from Defendant’s counsel in connection with that

portion of Plaintiff’s request. Thus, the only portion of this request that is not yet made on




1
  Based on a prior agreement on scheduling by the parties, Defendant, with the consent of
Plaintiff, previously filed a Consent Motion for Extension (DE 38) for a 14 day extension for the
filing of its Response to Plaintiff’s Petition for Attorneys’ Fees and Costs (DE 35) and Plaintiff’s
Motion to Amend (DE 36), and the Court granted the extension request by way of a text Order
(DE 39), which extended the response deadlines to November 7, 2023 for Defendant’s Response
to Plaintiffs’ Petition for Attorneys’ Fees and Costs (DE 35) and November 8, 2023 for
Defendant’s Response to Plaintiff’s Motion to Amend (DE 36). Thereafter, based on a
subsequent agreement by the parties, Plaintiff, with the consent of Defendant, filed a Consent
Motion for Extension (DE 41) which the Court granted by text order in which the Court revised
the briefing schedule such that “Plaintiff's response to Defendant's Motion to Amend (DE 40)
shall be filed on or before December 4, 2023. Defendant's response to Plaintiff's Petition for
Attorneys' Fees and Costs (DE 35) shall be filed on or before November 20, 2023, and
Defendant's response to Plaintiff's Motion to Amend (DE 36) shall be filed on or before
November 21, 2023.” See Text Order, (DE 42).

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consent is an extension of time of 7 days from December 4, 2023 to December 11, 2023 as

outlined above.

       As such, Plaintiff respectfully requests that the due dates in this action as laid out above

be extended. The requested extensions do not affect any other deadlines not addressed herein as

this matter is post-judgment and in fact address each of the currently pending Motions in the

above captioned action.

       Pursuant to Local Civil Rule 7.02, counsel have consulted, and Defendant’s counsel has

consented to extensions of time for the Plaintiff through December 4, 2023. Because this motion

contains a full explanation of the reasons therefor, no supporting memorandum is being submitted

pursuant to Local Civil Rule 7.04.

November 22, 2023
                                                     Respectfully submitted,

                                                     PARKER POE ADAMS & BERNSTEIN
                                                     LLP

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